Case 1:18-cv-00950-LO-JFA Document 113 Filed 02/27/19 Page 1 of 3 PageID# 2595




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


SONY MUSIC ENTERTAINMENT,et al.

                       Plaintiffs,
                                                      Civil Action No. I:18cv0950(LO/JFA)
        V.



COX COMMUNICATIONS,INC., et al.

                       Defendants.



                                             ORDER


        This matter is before the court on two motions for temporary sealing filed by the

plaintiffs. (Docket nos. 99, 106). Plaintiffs filed these motions pursuant to Local Civil Rule

5(C)indicating that the motions were being filed because the defendants had designated certain

 material as confidential. {Id.). As required by Local Civil Rule 5(C), defendants filed

 memoranda in support of the motions to file under seal. (Docket nos. 104, 111). The first

 motion to seal involves a portion of plaintiffs' memorandum in support oftheir motion to compel

 and exhibits0through O. (Docket no. 99). The second motion to seal involves a portion of

 plaintiffs' reply memorandum in support of their motion to compel and exhibits B and C to the

 declaration of Jeffrey M.Gould. (Docket no. 106). In response to the first motion to seal, the

 defendants do not oppose having an unredacted version of the memorandum filed in the public

 record, but they do oppose unsealing exhibits G through O. (Docket no. 104). In response to the

 second motion to seal, the defendants oppose unsealing the portion ofthe reply brief that was

 filed under seal and unsealing exhibits B and C to the Gould declaration. (Docket no. 111).

        In these motions to seal the plaintiffs state that they do not believe that any ofthe

 material being filed under seal should remain under seal because the documents and information
Case 1:18-cv-00950-LO-JFA Document 113 Filed 02/27/19 Page 2 of 3 PageID# 2596




 were used in open court and admitted into evidence during the public trial in BMG Rights

 Management v. Cox Communications, Inc., 1:14cvl611 ("the BMG litigation") without any steps

 taken to limit their public disclosure. The defendants argue that the various exhibits contain

"highly confidential internal Cox" documents and communications, that portions of the

 information contained in those materials are unrelated to the plaintiffs' motion to compel, and

 that even though those documents were admitted into evidence in the BMG litigation without

any restrictions, they do contain confidential and commercially sensitive information.

        As an initial matter, it is important to recognize that the party designating material as

confidential and seeking to have that material filed under seal bears the burden of proof. In

addition, in contrast to the earlier motion to file documents under seal in which the court did not

 consider the materials being filed under seal (Docket no. 91), the materials that are the subject of

these two motions were considered by the court in deciding the motion to compel.

        There is no dispute the exhibits that are the subject of these motions to seal were admitted

 into evidence during the BMG litigation without any restriction to their disclosure or use. The

 defendants state that while the trial transcript indicates that at least some of these exhibits may

have been shown on the gallery screens in the courtroom, there is no evidence that they were

"made available to spectators of the trial as opposed to only the judge, jury, and counsel."

 (Docket no. 111 at 4). Defendants ignore the fact that these exhibits were not only admitted into

evidence during the public trial in the BMG litigation without any restrictions, but significant

 portions of these exhibits were cited by the District Judge and the Court of the Appeals for the

 Fourth Circuit in their public opinions in this case. For example, in the memorandum opinion

 issued by the District Judge on December 1, 2015 (149 F.Supp. 3d 634) many of the emails

being sought to be filed under seal were quoted in large part and the Cox Abuse Tracking System
Case 1:18-cv-00950-LO-JFA Document 113 Filed 02/27/19 Page 3 of 3 PageID# 2597




("CATS") was discussed in detail. The memorandum opinion issued by the District Judge on

August 8, 2016, also discusses in detail CATS and cites many of the exhibits defendants now

wish to be filed under seal, including PX 1340 containing the "f the dmca! ! !" reference. (199

F.Supp. 3d 958, 96 6 -6 7). The published opinion from the Court of Appeals for the Fourth

Circuit in BMG litigation (881 F.3d 293) also contains a description of CATS and defendants'

thirteen-strike policy and discusses the Zabek emails which defendants now seek to file under

seal.

        Given that these documents were used in public proceedings both at the trial and

appellate level without any restriction on their disclosure or use, that the District Judge and the

Court of Appeals for the Fourth Circuit considered those documents in making dispositive

rulings, and that significant portions of these materials are discussed in published opinions, it is

clear that the defendants have failed to establish the existence of a "compelling governmental

interest" for having these materials filed under seal in the case as required by Virginia

Department ofState Police v . The Washington Post., 386 F.3d 567,575 (4th Cir. 2004).

Accordingly, it is hereby

        ORDERED that the motions for temporary sealing are denied. Unless the defendants

seek a reconsideration of this order within fourteen days, the plaintiffs shall file umedacted

versions of the memorandum and reply along with the exhibits in the public record within 21

days.

        Entered this 27th day of February, 2019.

                                                        ...,.......,..-=-,_,_.,--Isl ______
                                                        John F. Anderson
                                                        United States Magistrate Judge
                                                      John F. Anderson
Alexandria, Virginia                                  United States Magistrate Judge
